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 13

 14
                               UNITED STATES DISTRICT COURT
 15
                              CENTRAL DISTRICT OF CALIFORNIA
 16

 17
      ZHONGTIE DACHENG (ZHUHAI)               Case No.: 8:22-cv-00461-SSS-ADS
 18 INVESTMENT MANAGEMENT

 19
      CO., LTD., a China Company              AMENDED PETITION TO
                                              CONFIRM ARBITRATION
 20               Petitioner,                 AWARD AND FOR ENTRY OF
 21                                           JUDGMENT
            vs.
 22

 23 YAN, JINGGANG, an individual, and
      LIANG, XIUHONG, an individual,
 24

 25               Respondents.

 26
 27

 28

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  1        Petitioner Zhongtie Dacheng (Zhuhai) Investment Management Co., Ltd.
  2 (“Zhongtie” or “Petitioner”), by and through its undersigned attorneys, hereby

  3 respectfully petitions this Court for an order and judgment confirming a final, binding

  4 arbitration award issued in Beijing, China on March 24, 2020, against Respondents

  5 Yan    Jinggang (“Yan”), Liang Xiuhong (“Liang,” together with Yan the
  6 “Respondents”), and two companies which Yan owns and controls: Shanghai Fukong

  7 Interactive Entertainment Co., Ltd., and Shanghai Zhongji Enterprise Group Co., Ltd.

  8 This Petition is supported by an accompanying Amended Memorandum and Amended

  9 Declaration of Rongping Wu, dated October 11, 2022 (the “Wu Decl.”), which is

 10 incorporated herein by reference).     In support of this amended Petition, Zhongtie
 11 respectfully states as follows:

 12                          NATURE OF THE PROCEEDING
 13        1.     This is a petition pursuant to 9 U.S.C. § 207 of the Federal Arbitration Act
 14 (the “FAA”) and Article III of the 1958 Convention for the Recognition and

 15 Enforcement of Foreign Arbitral Awards (the “New York Convention”), requesting

 16 that this Court: (a) confirm and enforce the March 24, 2020, arbitration award (the

 17 “Award”) issued by an arbitral tribunal (the “Tribunal”) comprised of three arbitrators

 18 and constituted under the 2015 Arbitration Rules of the Beijing Arbitration

 19 Commission; (b) issue a judgment in Petitioner’s favor against the Respondents as

 20 provided for in the Award; (c) award the Petitioner the costs of this confirmation

 21 proceeding; and (d) retain jurisdiction over this matter until the Respondents have fully

 22 complied with the Award.

 23         2.    The    Award     concluded    Beijing    Arbitration   Commission       (the
 24 “Commission”) case number (2018) J.Z.A.Z. No. 4111 (the “Arbitration”), which

 25 resolved a dispute between Zhongtie, Yan, Liang, Shanghai Fukong Interactive

 26 Entertainment Co., Ltd., and Shanghai Zhongji Enterprise Group Co., Ltd. The Award
 27 was issued number (2020) J.Z.C.Z. No. 0455.

 28        3.     Zhongtie respectfully requests that this Court confirm the Award and

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  1 incorporate its terms into a judgment in favor of Zhongtie. Zhongtie also seeks to

  2 recover costs and fees associated with confirming the Award, and any other and such

  3 further relief as this Court may find just and proper.

  4                                         PARTIES
  5        4.     The Petitioner, Zhongtie Dacheng (Zhuhai) Investment Management Co.,
  6 Ltd., is a corporation organized under the laws of the People’s Republic of China

  7 (“PRC”), with its principal place of business located at (Centralized Office Area) Room

  8 105-27185 No. 6 Baohua Road, Hengqin New Area, Zhuhai, Guangdong Province,

  9 PRC. (Wu Declaration ¶ 3.) Zhongtie is an investment management company, in the

 10 business of, among other things, equity investments, debt investments, mezzanine

 11 investments, and private equity investments, in the PRC and elsewhere. (Id.)

 12        5.     The Petitioner is informed and believes, and on that basis alleges, that
 13 Respondents are husband and wife communally residing within the Central District of

 14 California, with their primary residence located at 30 Sea Glass, Newport Coast, in

 15 Orange County, California, 92657, and are otherwise sui juris. Respondent Yan is the

 16 sole director and shareholder of the corporate respondents to the Arbitration, Shanghai

 17 Fukong Interactive Entertainment Co., Ltd., and Shanghai Zhongji Enterprise Group

 18 Co., Ltd., (together, the “Corporate Parties”), and it was in that capacity that

 19 Respondent Yan executed a personal guaranty agreement, and caused his spouse

 20 Respondent Liang to do the same, with Petitioner. Petitioner is further informed and

 21 believes that there exists such a unity of interest between Respondents and the

 22 Corporate Parties that their separate identities have ceased to exist, and it would result

 23 in injustice to treat Respondents, on the one hand, and the Corporate Parties, on the

 24 other, as separate actors.

 25                              JURISDICTION AND VENUE
 26        6.     Petitioner’s right to confirm the Award arises under the New York
 27 Convention. Chapter 2 of the FAA, 9 U.S.C. § 201, et seq., codifies and applies the

 28 New York Convention to award-recognition actions brought before the courts of the

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  1 United States.

  2        7.     The Court has original subject matter jurisdiction over this action under
  3 9 U.S.C. § 203, which provides that “[t]he district courts of the United States . . . shall

  4 have original jurisdiction over [any] action or proceeding falling under the

  5 Convention.” This proceeding falls under the New York Convention because it arises

  6 out of a commercial dispute between parties that are not citizens of the United States.

  7 (See 9 U.S.C. § 202 [“an arbitral award arising out of a legal relationship . . . which is

  8 considered as commercial . . . falls under the Convention” unless the relationship is

  9 wholly between citizens of the United States”].) Moreover, the Award was made in

 10 the PRC, which is a signatory and party to the New York Convention.

 11        8.     28 U.S.C. § 1331 also gives the Court subject-matter jurisdiction over this
 12 proceeding, because this proceeding is a “civil action arising under the . . . laws, or

 13 treaties of the United States.”

 14        9.     The Court has personal jurisdiction over the Respondents, as, upon
 15 information and belief, the Respondents currently reside in Orange County, California,

 16 within the Central District of California.

 17        10.    Venue is proper in this Court under 9 U.S.C. § 204 and 28 U.S.C.
 18 § 1391(b)(1), due to the fact that this a proceeding arising under the New York

 19 Convention, and the Respondent resides in this district.

 20                                   FACTUAL BACKGROUND
 21        A.     The Underlying Loan and Dispute
 22        11.    The dispute underlying the Arbitration, and the Award itself, is rooted in
 23 a lending agreement entered into by the Petitioner and one of the Corporate Parties,

 24 Shanghai Fukong Interactive Entertainment Co., Ltd. (the “Borrower”), on November

 25 16, 2017 (the “Loan”). In order to further secure its rights as the lender under the Loan,

 26 Petitioner executed separate Performance Joint Liability Guarantee Letters (“Personal
 27 Guarantees”) with the Respondents and the Corporate Parties (together, the

 28 “Guarantors”).

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  1        12.    The Loan provided that the Borrower would borrow RMB 30,000,000
  2 from Petitioner, at an annual interest rate of 20%, with the loan term set to expire

  3 9 months after the date Petitioner issued the loan principal to the Borrower.             (Wu
  4 Declaration ¶¶ 4 – 6, and Exhibit A.) Repayment terms required that the Borrower

  5 pay monthly interest during the term of the Loan, and that the principal would be due

  6 after the expiration of the term. (Id.) The Loan provided that any dispute between the

  7 parties was to be resolved via arbitration:

  8               (i)    The Loan shall be governed by the laws of the PRC;
  9               (ii)   Any dispute arising from performance of the Loan are to be dealt
 10                      with through good-faith negotiation between the parties, and if
 11                      such negotiation fails, either party would be entitled to initiate
 12                      arbitration before the Commission.
 13 (Exhibit A to Wu Declaration, Art. 10.6.)

 14        13.    On the same day, Respondents executed the Personal Guarantees with the
 15 Petitioner. The Personal Guarantees provided that the Guarantors assumed joint and

 16 several liability for the Borrower, which included loan principal, interest, damages,

 17 expenses, and other costs payable by the Borrower under the Loan. (Wu Declaration

 18 ¶¶ 7 – 9, and Exhibit B.) The period of the Personal Guarantees was two years from

 19 the date of expiration of the Loan term. (Id.) Respondents affixed their personal seals

 20 and signatures to the respective Personal Guarantees.            (See Exhibit B to Wu
 21 Declaration).

 22        14.    At the time of execution of the Loan and Personal Guarantees, and
 23 continuing through the Arbitration, Respondent Yan was the actual controller of the

 24 Borrower, and held 95% of the equity of the corporate Guarantor, Shanghai Zhongji

 25 Enterprise Group Co., Ltd. (See Wu Declaration ¶ 10.)

 26        15.    On December 22, 2017, Petitioner transferred the Loan principal, a total
 27 of RMB 30,000,000, to the Borrower, in accordance with the terms of the Loan

 28 Contract and the instructions of the Borrower.            (See Wu Declaration ¶ 11.)

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  1 Specifically, the Borrower executed an “Entrusted Collection Letter” with a third-party

  2 entity that instructed Petitioner to transfer the loan principal to an account held by that

  3 third-party entity. (Id.)

  4         16.   The expiration date for the Loan Contract, dependent upon the day
  5 Petitioner transferred the loan principal, was September 22, 2018. (Id.)

  6         17.   Following the transfer of loan principal, a dispute arose between the
  7 parties concerning the parties’ rights and obligations under the Loan Contract,

  8 concerning the failure of the Borrower to repay the loan principal according to the

  9 terms within the Loan Contract. (Id. ¶ 12.)

 10         18.   The Borrower failed to repay the interest as specified within the Loan
 11 Contract and ultimately failed to repay any of the principal by September 22, 2018.

 12 (Id.)

 13         19.   On May 28, 2018, in the wake of Borrower’s ongoing failure to remit the
 14 periodic interest payments required by the Loan Contract, Petitioner sought to initiate

 15 arbitration proceedings against the Borrower and the Guarantors in accordance with

 16 the Loan Contract before the Beijing Arbitration Commission (the “Commission”). It

 17 was assigned case no. (2018) J.Z.A.Z. No. 1421 (the “Arbitration Request”). (Id. ¶ 13.)

 18         20.   On July 17, 2018, Petitioner transferred its interest in RMB 15,000,000
 19 Yuan of the loan principal owed by the Borrower and guaranteed by the Respondents,

 20 to a third-party (the “Recoupment Agreement”). The third party would pay Petitioner

 21 in two tranches of RMB 7,500,000 Yuan each. As part of the Recoupment Agreement,

 22 Petitioner agreed to request the withdrawal of the Arbitration Request within 5 business

 23 days of receiving the first transfer from the third party. The third party would then

 24 transfer the last tranche within 5 business days of receiving notice of the submission of

 25 the request to withdraw. The tranches were received on September 29, 2018, and

 26 November 28, 2018, respectively, and the Arbitration Request withdrawn. (Id. ¶¶ 14
 27 & 15.)

 28         21.   Following the request for withdrawal made by the Petitioner in accordance

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  1 with the Recoupment Agreement, the Commission revoked the matter on November

  2 20, 2018. (Id. ¶ 15.)

  3        B.     The Arbitration
  4        22.    The same day, November 20, 2018, Petitioner initiated another arbitration
  5 proceeding against the Borrower, the Respondents, and the other corporate Guarantor,

  6 to recover the remaining RMB 15,000,000 in principal. The Commission accepted the

  7 matter and assigned it case no. (2018) J.Z.A.Z. No. 4111 (the “Arbitration”). (Id. ¶ 16.)

  8        23.    The Loan Contract and Personal Guarantees all contained agreements to
  9 arbitrate any disputes arising from the Loan Contract before the Beijing Arbitration

 10 Commission. As was mentioned above, these agreements were executed on November

 11 16, 2017. (See Exhibit B to Wu Declaration.) The Personal Guarantees contain the

 12 Agreement to Arbitrate between Petitioner and Respondents, which provides:

 13               (i)    The Guarantees shall be governed by the laws of the PRC;
 14               (ii)   Any disputes arising from the performance of the Guarantees shall
 15                      be settled in the same way as agreed under the Loan.
 16   (Id. ¶ 9, and Exhibit B, Art. 11.)
 17        24.    The Arbitration was governed by the ordinary procedures contained
 18 within the “Arbitration Rules of the Beijing Arbitration Commission” (the “Rules”), as

 19 implemented by the Commission since April 1, 2015. (Id. ¶ 17.)

 20        25.    On January 25, 2019, the Borrower filed an objection with the
 21 Commission regarding jurisdiction.      On June 11, 2019, the Commission issued a
 22 decision authorizing the Tribunal to make a decision regarding the jurisdictional issue

 23 presented by the Borrower. Because the parties did not select a panel in accordance

 24 with the schedule required by the Rules, the Commission chose a three-person Tribunal

 25 and assigned them to this matter on the same day, June 11, 2019. The Commission

 26 served notice of the formation of the Tribunal and the notice of the hearing date set for
 27 July 11, 2019, to Petitioner, Borrower, Respondents, and the corporate Guarantor. No

 28 objections were raised prior to the hearing date by any parties. (Id. ¶ 18.)

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  1        26.    Despite being duly notified of the hearing by the Commission,
  2 Respondents did not appear on July 11, 2019. (Id. ¶ 19.)

  3        27.    At the hearing, the Borrower sought the recusal of one of the chosen
  4 arbitrators, and consequently the Tribunal was suspended. After briefing the issue, on

  5 November 5, 2019, the Commission rejected the Borrower’s arguments for recusal and

  6 retained the chosen arbitrator, setting the matter for another hearing on December 17,

  7 2019. (Id. ¶ 20.)

  8        28.    On December 17, 2019, the Tribunal held a hearing at which the Petitioner
  9 and the Borrower appeared but, despite being duly notified, the Respondents failed to

 10 appear for once again. (Id. ¶ 21.)

 11        29.    The Tribunal tried the matter in accordance with the Rules and heard the
 12 parties’ arguments, facts, and evidence. Additionally, the Tribunal provided the parties

 13 with an opportunity to cross-examine and challenge the presented evidence. Moreover,

 14 the Tribunal conducted an investigation and independent verification of the facts as

 15 alleged by the parties. Finally, the Tribunal extended the time within which to conduct

 16 the proceedings in order to afford more opportunity to the parties that did not appear to

 17 make an appearance and participate. (Id. ¶ 22.)

 18        C.     The Award
 19        30.    After almost four months of deliberation, on March 24, 2020, the Tribunal
 20 delivered a final award in favor of the Petitioner. The Award was issued in Mandarin,

 21 the language of the Arbitration, and assigned number (2020) J.Z.C.Z. No. 0455.

 22 Attached to the Wu Declaration as Exhibit C is a notarized copy of the Award, along

 23 with a certified and notarized English translation thereof. The Award provides in part:

 24                Pursuant to the Loan and evidence presented by the parties, the
 25                  Borrower is liable to Zhongtie for the RMB 15,000,000 in unpaid loan
 26                  principal;
 27                Pursuant to the Loan and evidence presented by the parties, as of
 28                  November 20, 2018, the Borrower was liable to Zhongtie for the RMB

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  1                  5,316,700 in unpaid loan interest;
  2                Pursuant to the Loan, the Borrower is liable to Zhongtie for loan
  3                  interest on the unpaid principal, calculated from November 21, 2018,
  4                  at 20% per annum, until the date the unpaid principal has been repaid;
  5                Borrower is liable for attorneys’ fees of RMB 10,000 and the
  6                  arbitration fee of RMB 149,183.50; and
  7                Respondents and the corporate Guarantor, by virtue of the Personal
  8                  Guarantees executed between them and the Petitioner, were jointly and
  9                  severally liable to Petitioner for the above enumerated amounts owed
 10                  by the Borrower.
 11 (See Wu Declaration ¶ 23, and Exhibit C.)

 12        31.    No proceedings have been commenced in the PRC for the purpose of
 13 correcting or interpreting the Award, or to otherwise contest its validity. (Id. ¶ 24.)

 14        32.    In accordance with the Rules, the Award became final and enforceable on
 15 the date it was issued by the Tribunal, March 24, 2020. The amounts are now long

 16 overdue and payable to the Petitioner. (Id.)

 17        33.    The current amount outstanding and payable by the Respondents under
 18 the Award is RMB 20,475,883.50 plus any accrued per diem interest of RMB 8,219.18

 19 beginning on November 21, 2018, for a total accrued interest in the amount of RMB

 20 9,920,547.95 as of March 11, 2022. In total, as of March 11, 2022, Respondents owe

 21 Petitioner RMB 30,396,431.45 under the Award. (Id. ¶ 26.)

 22        34.    To date, the Respondents, the Borrower, and the corporate Guarantor have
 23 failed to pay any amount pursuant to the Award. (Id. ¶ 25.)

 24        35.    As demonstrated by the foregoing facts and the following analysis,
 25 confirmation of the Award is appropriate, and no ground exists under Article V of the

 26 New York Convention to vacate or otherwise refuse confirmation of the Award.
 27                                      ARGUMENT
 28        36.    The Award is a well-reasoned award, issued by respected jurists in a

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   1 proceeding in which all parties bound by the Award had a full and ample opportunity

   2 to participate.

   3         37.    The Federal Arbitration Act (“FAA”) provides that “[w]ithin three years
   4 after an arbitral award falling under the Convention is made, any party to the arbitration

   5 may apply to any court having jurisdiction under this chapter for an order confirming

   6 the award as against any other party to the arbitration.” (9 U.S.C. § 207.) Given that

   7 the Award was rendered on March 24, 2020, this Petition to recognize and enforce the

   8 Award is timely under the FAA.

   9         38.    Confirmation of the Award is governed by the New York Convention (the
  10 “Convention”), as implemented by Chapter 2 of the FAA, 9 U.S.C. § 201, et seq. The

  11 Award is an “arbitral award arising out of a legal relationship . . . which is considered

  12 as commercial,” and therefore it falls within the purview of the Convention. (See 9

  13 U.S.C. § 202.)

  14         39.    According to the Convention and the FAA, a district court’s role in
  15 reviewing an arbitral award is strictly limited: “[t]he court shall confirm the award

  16 unless it finds one of the grounds for refusal or deferral of recognition or enforcement

  17 of the award specified in the said Convention.” (9 U.S.C. § 207 [emphasis added].)

  18 The Ninth Circuit has reiterated that the role of the district courts is strictly limited. “It

  19 is well-settled that questions of arbitrability must be addressed with a healthy regard

  20 for the federal policy favoring arbitration . . . any doubts concerning the scope of

  21 arbitrable issues should be resolved in favor of arbitration . . . . ” (Balen v. Holland

  22 Am. Line, Inc., 583 F.3d 647, 652 (9th Cir. 2009) [internal citations omitted].)

  23         40.    Absent the existence of one of the specified grounds for refusal or deferral
  24 as enumerated in the Convention, an arbitral award must be recognized and enforced.

  25 The grounds for refusal or deferral are contained within Article V of the Convention:

  26                1.     The parties to the [arbitration] agreement referred to in article II
  27
                           were, under the law applicable to them, under some incapacity, or
                           the said agreement is not valid under the law to which the parties
  28                       have subjected it or, failing any indication thereon, under the law

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   1
                         of the country where the award was made (Article V(1)(a));

   2              2.     The party against whom the award is invoked was not given
   3
                         proper notice of the appointment of the arbitrator or of the
                         arbitration proceedings or was otherwise unable to present his case
   4                     (Article V(1)(b));
   5
                  3.     The award deals with a difference not contemplated by or not
   6                     falling within the terms of the submission to arbitration, or it
   7                     contains decisions on matters beyond the scope of the submission
                         to arbitration, provided that, if the decisions on matters submitted
   8                     to arbitration cannot be separated from those not so submitted,
   9                     that part of the award which contains decisions on matters
                         submitted to arbitration may be recognized and enforced (Article
  10                     V(1)(c));
  11
                  4.     The composition of the arbitral authority or the arbitral procedure
  12                     was not in accordance with the agreement of the parties, or failing
  13                     such agreement, was not in accordance with the law of the country
                         where the arbitration took place (Article V(1)(d));
  14

  15              5.     The award has not yet become binding between the parties, or has
                         not been set aside or suspended by a competent authority of the
  16                     country in which, or under the law of which, the award was made
  17                     (Article V(1)(e));

  18              6.     The subject of the dispute cannot be settled by arbitration under
  19                     the law of the State in which recognition and enforcement is
                         requested (Article V(2)(a)); or
  20

  21              7.     The recognition or enforcement of the award would be contrary to
                         the public policy of the State in which recognition and
  22                     enforcement is requested (Article V(2)(b)).
  23        41.   Here, none of the grounds above for refusal to recognize or enforce an
  24 arbitral award are present. The plain language of the respective articles of the Loan

  25 and the Personal Guarantees make clear that Petitioner and the Respondents agreed that

  26 certain disputes could be resolved by arbitration. (See Exhibit A to Wu Declaration,
  27 Art. 10.6, and Exhibit B to Wu Declaration, Art. 11.) Moreover, the Respondents have

  28 failed to file a motion to vacate the first award within the timeframe specified by the

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   1 FAA. (See 9 U.S.C. § 12.)

   2        42.    Nothing in the laws of the United States prohibits adjudicating the dispute
   3 between the parties, which arises out of a failure to perform under a commercial loan

   4 contract or liability under a personal guaranty. Rather, United States jurisprudence has

   5 long favored arbitration for the resolution of international commercial disputes. (See

   6 Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 631 (1985)

   7 [endorsing “emphatic federal policy in favor of arbitral dispute resolution,” which

   8 “applies with special force in the field of international commerce”].)

   9        43.    The Tribunal was composed by and followed the Rules of the
  10 Commission, as was contemplated by the parties’ agreements to arbitrate. The Award

  11 is binding and has not been set aside in the PRC, or upon information and belief, in any

  12 other jurisdiction.   Finally, confirming the Award offends no public policy of the
  13 United States.

  14        44.    Based on the foregoing, the Award should be confirmed in all respects so
  15 that the Petitioner may seek enforcement of the Award and immediately receive the

  16 monetary sums it is entitled to receive.

  17        45.    The party opposing confirmation of an arbitral award under the New York
  18 Convention bears the burden of proving that such a ground for refusal exists and

  19 applies. (See Polimaster Ltd. v. RAE Syst., Inc., 623 F.3d 832, 836 (9th Cir. 2010)

  20 [“the [respondent] has the burden of showing the existence of a New York Convention

  21 defense. The burden is substantial because the public policy in favor of international

  22 arbitration is strong, and the New York Convention defenses are interpreted

  23 narrowly.”] (internal citations omitted).) The Respondents cannot meet this burden.

  24                                        COUNT I
  25              (CONFIRMATION OF AWARD UNDER 9 U.S.C. § 207)
  26        46.    Zhongtie repeats, reaffirms, and incorporates by reference each and every
  27 preceding paragraph above as if fully set forth herein.

  28        47.    The United States in a contracting party to the New York Convention, as

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   1 is the People’s Republic of China.

   2        48.    The Award is governed by the New York Convention (as that treaty is
   3 made applicable in this proceeding under Chapter 2 of the FAA, 9 U.S.C. § 201, et

   4 seq.) because the Award arises out of a commercial contract dispute between Zhongtie

   5 and the Respondents Yan and Liang, none of whom are citizens of the United States.

   6        49.    Article IV of the New York Convention provides that the party applying
   7 for confirmation of an award “shall, at the time of the application, supply: (a) [t]he duly

   8 authenticated original award or a duly certified copy thereof; [and] (b) [t]he original

   9 agreement [to arbitrate] or a duly certified copy thereof.” A duly authenticated copy

  10 of the Award, in Mandarin and English, is attached as Exhibit C to the Wu Declaration,

  11 and a duly authenticated copy of the Loan, in Mandarin and English, is attached to the

  12 Wu Declaration as Exhibit A, which sets forth the agreement to arbitrate between

  13 Zhongtie and the Respondents pursuant to Article 11 of the Personal Guarantees.

  14        50.    The Award arose out of a legal relationship that is commercial within the
  15 meaning of 9 U.S.C. § 202.

  16        51.    Article 50 of the Rules provides that the Award is “legally binding from
  17 the date on which it [was] made,” and the Respondents were required to “perform the

  18 award in accordance with the time limit for performance specified in the award”—in

  19 this case, “within 10 days from the date of service of [the Award].” (See Exhibit C to

  20 Wu Declaration, pg. 44.)

  21        52.    Neither the Respondents nor the two corporate parties to the Arbitration
  22 have paid Zhongtie the amounts due and owing under the Award. Article 50 of the

  23 Rules authorizes judicial relief under just such circumstances: “[w]here any party fails

  24 to perform the award, the other party may apply to the competent court for

  25 enforcement.”

  26        53.    9 U.S.C. § 207 provides that, in an action to confirm an award that is
  27 governed by the New York Convention, a court shall confirm the award “unless it finds

  28 one of the grounds for refusal or deferral of recognition or enforcement of the award

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   1 specified in the said Convention.” (9 U.S.C. § 207.) The Ninth Circuit has reiterated

   2 that the role of the district courts is strictly limited. “It is well-settled that questions of

   3 arbitrability must be addressed with a healthy regard for the federal policy favoring

   4 arbitration . . . any doubts concerning the scope of arbitrable issues should be resolved

   5 in favor of arbitration . . . . ” (Balen, supra, 583 F.3d. at p. 652 [internal citations

   6 omitted].)

   7         54.    This Petition is timely because it is filed within three years after the Award
   8 was issued. (9 U.S.C. § 207.)

   9         55.    This Court has authority to confirm the Award under 9 U.S.C. § 207, as it
  10 is a final award falling under the New York Convention, insofar as it is “made in the

  11 territory of a State other than the State where the recognition and enforcement of such

  12 awards are sought, and arising out of differences between persons, whether physical or

  13 legal.” (New York Convention Art. I, Sec. 1.)

  14         56.    No grounds for refusal or deferral of recognition or enforcement of the
  15 Award exist. (9 U.S.C. § 207.)

  16         54.    Under 9 U.S.C. § 207 and Article III of the New York Convention, this
  17 Petition is duly authorized, and Zhongtie is entitled to an order confirming the Award.

  18 Zhongtie respectfully requests that the Court confirm the Award by entering judgment

  19 in its favor and against the Respondents Yan and Liang in the amount of the Award,

  20 plus any accrued post-award interest, in addition to the costs of this instant

  21 confirmation proceeding.

  22                                  PRAYER FOR RELIEF
  23         WHEREFORE, Petitioner moves for an Order:
  24                A.     Confirming the Award made by the Commission assigned case
  25                       no. (2020) J.Z.C.Z. No. 0455, against the Respondents, as
  26                       authorized by 9 U.S.C. § 207;
  27                B.     Awarding Petitioner damages in the amount of RMB
  28                       30,396,431.45;

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   1             C.    Awarding Petitioner costs accrued in bringing this action for
   2                   confirmation;
   3             D.    Maintaining this Court’s jurisdiction over this matter until the
   4                   Respondent has fully complied with the Award; and
   5             E.    Awarding Petitioner such other and further relief as may be just,
   6                   proper, and necessary in conformity with the Award.
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   8 Dated: October 12, 2022

   9                                      Respectfully submitted,
  10                                      DOYLE LAW APC
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  12
                                          By: /s/ Stephen Beke
                                          Stephen Beke, Esq. (SBN: 290972)
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  14
                                          DGW Kramer LLP
                                          RongPing Wu (pro hac vice)
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  16                                      Attorneys for Petitioner
                                          ZHONGTIE DACHENG (ZHUHAI)
  17                                      INVESTMENT MANAGEMENT CO., LTD.
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